         Case 1:20-cv-10832-AT-SN Document 839
                                           626 Filed 06/13/23
                                                     09/13/22 Page 1 of 7



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                             Plaintiff,                 :   20 Civ. 10832 (AT) (SN)
                                                                        :
                           - against -                                  :   ECF Case
                                                                        :
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE, :
and CHRISTIAN A. LARSEN,                                                :
                                                                        :
                                             Defendants.                :
                                                                        :
------------------------------------------------------------------------x

                              DECLARATION OF DAPHNA WAXMAN

        I, Daphna Waxman, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

          1.       I am a member of the Bar of the State of New York.

          2.       I am employed as Senior Counsel in the New York Regional Office of Plaintiff

 Securities and Exchange Commission (the “SEC”). I submit this declaration in support of the

 SEC’s Motion for Summary Judgment (“Motion”) against Defendants Ripple Labs, Inc.

 (“Ripple”), Bradley Garlinghouse, and Christian A. Larsen (collectively, “Defendants”).

          3.       I am familiar with the facts and circumstances herein. I make this Declaration

 based upon (i) my personal knowledge, (ii) information and documents obtained by the SEC

 during its investigation of this matter and during this litigation, (iii) information provided to me

 by other SEC staff members, and (iv) certain other documents that are described below. Because

 the SEC submits this Declaration for the limited purpose of supporting its Motion, I have not set

 forth each and every fact that I know about this matter.

          4.       I am one of the SEC’s counsel of record in the above-captioned lawsuit. I also

 was one of the attorneys that conducted the SEC investigation regarding Defendants that

 preceded this lawsuit (the “Investigation”).
      Case 1:20-cv-10832-AT-SN Document 839
                                        626 Filed 06/13/23
                                                  09/13/22 Page 2 of 7




       5.      In connection with the Investigation and beginning in April and May 2018, I

communicated with attorneys representing Ripple in the Investigation, including Andrew

Ceresney, who served as the SEC’s Director of Enforcement from 2014 to 2016. Attached as

PX 505 is a true and accurate email chain reflecting my first communication with Mr. Ceresney

regarding the Investigation on May 4, 2018.

       6.      In the course of the Investigation and this lawsuit, I personally reviewed Ripple’s

current and former websites (https://ripple.com and https://ripplelabs.com), other internet

domains that I understand were maintained by Ripple, and documents posted on those websites

and domains.

       7.      Attached as Exhibit PX 500 is a spreadsheet containing a true and accurate

compilation of certain information, articles and statements appearing on Ripple’s current and

former websites (https://ripple.com and https://ripplelabs.com) and on other internet domains

maintained by Ripple. Exhibit PX 500 includes, per Ripple’s website: the date the statement was

first published, the date the webpage was accessed or preserved by the SEC, or the date the

webpage was archived by the webpage https://archive.org/; the web address where the

information was published; the person or entity who made the quoted statement; the quoted

statement; and either a link to the webpage where the statement may be found or a link to the

webpage where the statement is archived along with the date of the archive. I supervised the

process by which the above-described statements were accessed, copied, and transcribed from

Ripple’s websites and domains and from archives of Ripple’s websites and domains, and

compiled on Exhibit PX 500.

       8.      The attached Exhibits PX 500.01 through PX 500.28 contain true and accurate

copies of certain articles posted on Ripple’s website and screenshots of the quoted statements

listed in Exhibit PX 500. I supervised the process by which the above-described screenshots


                                                2
      Case 1:20-cv-10832-AT-SN Document 839
                                        626 Filed 06/13/23
                                                  09/13/22 Page 3 of 7



were taken from Ripple’s websites and domains and from archives of Ripple’s websites and

domains, and compiled on Exhibits PX 500.01 through PX 500.28.

       9.      In the course of the Investigation and this lawsuit, I also personally reviewed

statements from and links and archived links to Ripple’s XRP Markets Reports that I understand

Defendants posted on Ripple’s websites.

       10.     Attached as Exhibit PX 501 is a spreadsheet containing a true and accurate

compilation of certain statements contained in Ripple’s XRP Markets Reports, which SEC staff

under my direction accessed on Ripple’s websites. Exhibit PX 501 includes, per Ripple’s

websites: the date the webpag was accessed or preserved by the SEC, or the date the webpage

was archived by the webpage https://archive.org/; the quoted statement; and either a link to the

webpage where the statement may be found or a link to the webpage where the statement is

archived along with the date of the archive. I supervised the process by which the above-

described statements were transcribed from Ripple’s website and archives of Ripple’s website,

and compiled on Exhibit PX 501.

       11.     The attached Exhibits PX 501.01 through PX 501.16 contain true and accurate

copies of Ripple’s XRP Markets Reports from Q4 2016 through Q3 2020, which are listed in

Exhibit PX 501. I supervised the process by which the XRP Markets Reports were downloaded

and copied from Ripple’s websites and domains and archives of Ripple’s websites and domains,

and compiled on Exhibits PX 501.01 through PX 501.16.

       12.     In the course of the Investigation and this lawsuit, I also personally reviewed

information I understand Defendants disseminated to news organizations, appearances by

Defendants on news broadcasts, recordings of Defendants participating in industry conferences

and panels, and video recordings of Defendants posted on Ripple’s YouTube channel.

       13.     Attached as Exhibit PX 502 is a spreadsheet containing a true and accurate


                                                3
      Case 1:20-cv-10832-AT-SN Document 839
                                        626 Filed 06/13/23
                                                  09/13/22 Page 4 of 7



compilation of certain of Defendants’ quotations appearing in news articles published on the

Internet. Exhibit PX 502 includes, per the news articles’ websites: the date the news article was

first published; where the information was published; the person or entity who made the quoted

statement; the quoted statement; and a link to the webpage where the statement may be found. I

supervised the process by which the above-described statements were copied and transcribed

from various websites, and compiled on Exhibit PX 502.

       14.     The attached Exhibits PX 502.01 through PX 502.08 contain true and accurate

copies of news articles listed in Exhibit PX 502. I supervised the process by which the above-

described articles were copied, and compiled on Exhibits PX 502.01 through PX 502.08.

       15.     Attached as Exhibit PX 503 is a spreadsheet containing a true and accurate

compilation of certain statements made by Defendants during news broadcasts, industry

conferences and panels, and in video recordings on Ripple’s YouTube channel at

https://www.youtube.com/c/Ripple/videos. Exhibit 503 includes, per the source of the above

categories of recordings: the date the recording was first published; the name of the entity that

sponsored the broadcast, conference, panel or recording; the person or entity who made the

quoted statement; the quoted statement; a link to the webpage where the statement may be

found; and where the quote appears in the recording’s transcript. I supervised the process by

which the above-described statements were transcribed from websites on which the news

broadcasts, industry conferences and panels, and in video recordings on Ripple’s YouTube

channel were saved, and compiled on Exhibit PX 503.

       16.     The attached Exhibits PX 503.01 through PX 503.25 contain (a) transcripts of

the recordings listed in Exhibit PX 503 and (b) screenshots of images where the recordings may

be found. In the course of the Investigation and this lawsuit, I also personally reviewed the

recordings listed in Exhibit PX 503 and supervised the process by which a transcription was


                                                 4
      Case 1:20-cv-10832-AT-SN Document 839
                                        626 Filed 06/13/23
                                                  09/13/22 Page 5 of 7



made of these recordings and the process by which a screenshot was made of an image where the

recording may be found.

          17.   Attached as Exhibit PX 504 is a spreadsheet containing a true and accurate

compilation of certain statements made by former Ripple employee Patrick Griffin on Twitter

using the user handle @patgriffin9. Exhibit PX 504 includes, per the Twitter: the date or

approximate date that the statement was posted on Twitter, the user handle for the individual

who posted the statement, the quoted statement, and a link to the webpage where the Tweet may

be found. I supervised the process by which the above-described statements were transcribed

from Twitter, and compiled on Exhibit PX 504.

          18.   The attached Exhibits PX 504.01 through PX 504.42 contain true and correct

screenshots of the Twitter posts listed in Exhibit PX 504. I supervised the process by which the

above-described Twitter posts were copied, and compiled on Exhibits PX 504.01 through PX

504.42.

          19.   In the course of the Investigation and this lawsuit, I also personally reviewed

statements and links to articles and other information that I understand Defendants posted on

Twitter using accounts maintained by Ripple, Larsen, Garlinghouse. David Schwartz, Miguel

Vias, Breanne Madiagan, and Asheesh Birla and using, respectively the following user handles:

@Ripple; @chrislarsensf; @bgarlinghouse; @joelkatz; @miguelvias; @BreMadigan; and

@ashgoblue.

          20.   Attached as Exhibit PX 506 is a spreadsheet containing a true and accurate

compilation of certain statements made by Defendants and others on Twitter. Exhibit PX 506

includes, per Twitter: the date or approximate date that the statement was posted on Twitter, the

user handle for the individual who posted the statement, the quoted statement, and a link to the

webpage where the Twitter post may be found. I supervised the process by which the above-


                                                 5
      Case 1:20-cv-10832-AT-SN Document 839
                                        626 Filed 06/13/23
                                                  09/13/22 Page 6 of 7



described statements were transcribed from Twitter, and compiled on Exhibit PX 506.

       21.     The attached Exhibits PX 506.001 through PX 506.123 contain screenshots of

the quoted statements made by Defendants and others on Twitter and listed in Exhibit PX 506.

I supervised the process by which the above-described Twitter screenshots were taken, and

compiled on Exhibits PX 506.001 through PX 506.123.

       22.     In the course of the Investigation and this lawsuit, I also personally reviewed

statements that I understand Ripple’s Chief Technology Officer, David Schwartz, posted in

online forums Bitcoin Talk, XRP Chat, Reddit and Quora under the pseudonym Joel Katz.

Schwartz Dep. 43:25-44:1, 52:22-53:1

       23.     Attached as Exhibit PX 507 is a spreadsheet containing a true and accurate

compilation of certain statements made by Schwartz, using the Joel Katz pseudonym, on Bitcoin

Talk. Exhibit PX 507 includes, per Bitcoin Talk: the date the statement was posted on Bitcoin

Talk, the person who made the statement, the quoted statement, and a link to the webpage where

the statement may be found. I supervised the process by which the above-described statements

were transcribed from Bitcoin Talk, and compiled on Exhibit PX 507.

       24.     The attached Exhibits PX 507.01 through PX 507.20 contain screenshots of the

quoted statements made by Schwartz, using the Joel Katz pseudonym, on Bitcoin Talk and listed

in Exhibit PX 507. I supervised the process by which the above-described screenshots were

taken from Bitcoin Talk, and compiled on Exhibits PX 507.01 through PX 507.20.

       25.     Attached as Exhibit PX 508 is a spreadsheet containing a true and accurate

compilation of certain statements made by Schwartz, using the Joel Katz pseudonym, on XRP

Chat. Exhibit PX 508 includes, per XRP Chat: the date the statement was posted on XRP Chat,

the person who made the statement, the quoted statement, and a link to the webpage where the

statement may be found. I supervised the process by which the above-described statements were


                                                6
       Case 1:20-cv-10832-AT-SN Document 839
                                         626 Filed 06/13/23
                                                   09/13/22 Page 7 of 7



 transcribed from XRP Chat, and compiled on Exhibit PX 508.

        26.     The attached Exhibits PX 508.01 through PX 508.37 contain screenshots of the

 quoted statements made by Schwartz, using the Joel Katz pseudonym, on XRP Chat listed in

 Exhibit PX 508 and, where appropriate, screenshots of the questions that the post is responding

 to. I supervised the process by which the above-described screenshots were taken from XRP

 Chat, and compiled on Exhibits PX 508.01 through PX 508.37.

        27.     Attached as Exhibit PX 509 is a spreadsheet containing a true and accurate

 compilation of certain statements made by Schwartz, using the Joel Katz pseudonym, on Reddit

 and one statement made by Schwartz, using the Joel Katz pseudonym, on Quora. Exhibit PX

 509 includes, per Reddit and Quora: the date the statement was posted, the person who made the

 statement, the quoted statement, and a link to the webpage where the statement may be found. I

 supervised the process by which the above-described statements were transcribed from Reddit

 and Quora, and compiled on Exhibit PX 509.

        28.     The attached Exhibits PX 509.01 through PX 509.01 contain screenshots of the

 quoted statements made by Schwartz, using the Joel Katz pseudonym, on Reddit and Quora

 listed in Exhibit PX 509 and, where appropriate, screenshots of the questions that the post is

 responding to. I supervised the process by which the above-described screenshots were taken

 from Reddit and Quora, and compiled on Exhibits PX 509.01 through PX 509.90.




Executed on September 13, 2022



                                               /s/ Daphna Waxman             _




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